
65 Cal. Rptr. 3d 142 (2007)
166 P.3d 1
PEOPLE
v.
REYES (Henry O.).
No. S153455.
Supreme Court of California.
August 15, 2007.
*143 Review granted/briefing deferred (8.512(d)(2) criminal case).
The petition for review is granted. Further action in this matter is deferred pending further order of the court. (See Cal. Rules of Court, rule 8.512(d)(2).) Submission of additional briefing, pursuant to California Rules of Court, rule 8.520, is deferred pending further order of the court.
Votes: GEORGE, C.J., KENNARD, BAXTER, WERDEGAR, CHIN, MORENO, and CORRIGAN, JJ.
